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           EXHIBIT E
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Subject: Re: DC Updates
From: Person D2
Date: 3/1/13, 6:31 AM
To: Rick Gates <rgates@                  Person D1
CC: Paul Manafort <pmanafort@

Working on it now.


From: Rick Gates <rgates@
Date: Friday, 1 March 2013 05:01
To: Person D1                              Person D2
Cc: Paul Manafort <pmanafort@
Subject: DC Updates

Persons D1/D2 -
A few notes from my meeting with the principal this afternoon.
1. We have been offered the op/ed slot for the Hill on Monday. I spoke with and he is interested.
Can one or both of you take a run at a first draft. I need this by 300pm DC time to get to   He
will review it. 
2. He liked the idea of an apology letter to the members for the meetings he missed. I will draft
that for his review.
3. Attached is the final agenda for his meetings tomorrow.

Let me know when you are free to discuss the op/ed draft. 
